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AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

         UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
         RICHARD EPIFANO ALVARADO
                      (Defendant’s Name)                                  Criminal Number: 1:95-CR-05224-001


                                                                          James Homola
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) Charge 1 & 2 as alleged in the violation petition filed on June 14, 2007 .
[]  was found in violation of condition(s) of supervision as to charge(s)   after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
Charge 1                             DRIVING W HILE UNDER THE INFLUENCE                      February 25, 2007
                                     OF ALCOHOL W ITH BAC GREATER THAN
                                     .08%
Charge 2                             PUBLIC INTOXICATION                                     June 12, 2007



The court: [U] revokes: SUPERVISED RELEASE [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered
on .

       The defendant is sentenced as provided in pages 2 through 3 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.

[U]    APPEAL RIGHTS GIVEN

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                             July 12, 2007
                                                                                    Date of Im position of Sentence


                                                                                        /s/ Lawrence J. O’Neill
                                                                                      Signature of Judicial Officer


                                                                       LAW RENCE J. O'NEILL, United States District Judge
                                                                               Nam e & Title of Judicial Officer


                                                                                                 July 26, 2007
                                                                                                      Date
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               1:95-CR-05224-001                                                             Judgment - Page 2 of 3
DEFENDANT:                 RICHARD EPIFANO ALVARADO



                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 8 m onths .


[]       The court m akes the following recom m endations to the Bureau of Prisons:


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
                     Case 1:95-cr-05224-LJO Document 46 Filed 07/26/07 Page 3 of 3
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:               1:95-CR-05224-001                                                               Judgment - Page 3 of 3
DEFENDANT:                 RICHARD EPIFANO ALVARADO


                                               SUPERVISED RELEASE
         Upon release from imprisonment, the releasee shall be on supervised release for a term of (28) months.
         All previously imposed terms and conditions of supervised release originally ordered by the Court on
         12/29/2006 shall remain in full force and effect upon the releasee's release from imprisonment. Within 72
         hours of release from the custody of the Bureau of Prisons, the releasee shall report in person to the
         probation office in the district to w hich the releasee is released. All previously imposed court ordered
         financial obligations, if not already paid in full, remain imposed.

         Any violation during the term of supervision, the defendant will be serving a two year imprisonment.
